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Honorable Michael E. Farbiarz, U.S.D.J.                              Houston        Tel Aviv
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Frank R. Lautenberg U.S. Post Office & Courthouse
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2 Federal Square                                                     Madrid
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           Re: In re Celgene Corp. Sec. Litig., Case No. 2:18-cv-04772-MEF-JBC

Dear Judge Farbiarz:

        We write on behalf of Defendants to request a modest extension, from December 9 to
December 11, 2024, to file Defendants’ reply brief in support of their motion to bifurcate.
Defendants seek the extension primarily to account for the fact that the parties are working to
finalize an extensive joint pretrial order, which is also due to be filed on December 9. Defendants
have not previously sought an extension of this deadline. Plaintiff does not oppose the request.

           We thank the Court for its attention to this matter.

                                                                  Respectfully submitted,

                                                                  /s/ Kevin M. McDonough
                                                                  Kevin M. McDonough
                                                                  of LATHAM & WATKINS LLP



cc:        All Counsel of Record (via ECF)
